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UNITED STATES DISTRICT COURT                                     DOC#:
SOUTHERN DISTRICT OF NEW YORK                                    DATE FILED: 10/16/2020


 ARVIND GUPTA.,

                            Plaintiff,
                                                               No. 17-CV-5286 (RA)
                       v.
                                                                     ORDER
 HEADSTRONG, INC., GENPACT
 LIMITED, and SECRETARY OF THE U.S.
 DEPARTMENT OF LABOR,

                            Defendants.


RONNIE ABRAMS, United States District Judge:

         Plaintiff Arvind Gupta, proceeding pro se, brought this action against Defendants

Headstrong, Inc. and Genpact Limited (collectively, “Headstrong”) for wages allegedly owed to

him under the H-1B provisions of the Immigration and Nationality Act and for judicial review,

under the Administrative Procedure Act, of orders of the Department of Labor dismissing his

administrative claims against Headstrong. On September 9, 2019, the Court granted Headstrong’s

motion to dismiss. Dkt. 137. Gupta and Headstrong subsequently filed cross-motions for

attorneys’ fees.   On September 28, 2020, the Court denied Gupta’s motion and granted

Headstrong’s motion with modifications.

         It is hereby ORDERED that Headstrong shall submit a proposed order of judgment with

respect to the grant of attorneys’ fees by October 23, 2020.

SO ORDERED.

Dated:     October 16, 2020
           New York, New York

                                                  Ronnie Abrams
                                                  United States District Judge
